                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA


     MIKE TOYUKAK, et al.,
                                Plaintiffs,
                 v.
                                                 Case No. 3:13-cv-00137-SLG
                      1
     KEVIN MEYER , et al.,
                                Defendants.



                              SECOND STIPULATED ORDER

I.       PREAMBLE AND REMEDIES

         WHEREAS, Plaintiffs filed this action to enforce the statutory guarantee of

language assistance for limited-English proficient (LEP) Alaska Native, United

States (U.S.) voting-age (18 years of age and older) citizens under Section 203 of

the Voting Rights Act (VRA), 52 U.S.C. § 10503 (redesignated from 42 U.S.C. §

1973aa-1a) (Section 203), and the voting guarantees of the Fourteenth and Fifteenth

Amendments of the United States Constitution, and to obtain injunctive and

declaratory relief pursuant to Section 3 of the VRA, 52 U.S.C. § 10302 (redesignated

from 42 U.S.C. § 1973a), and 28

U.S.C. § 2201; and


1Pursuant to Fed. R. Civ. P. 25(d), Lieutenant Governor Kevin Meyer was automatically
substituted as a party defendant as the successor in office to Byron Mallott.
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       WHEREAS, Plaintiffs contended that Defendants failed to provide effective

language assistance to LEP Alaska Native voting-age citizens in the Dillingham

Census Area (DCA), Kusilvak Census Area (KCA, formerly Wade Hampton Census

Area), and Yukon-Koyukuk Census Area (YKCA) of Alaska (collectively referred to

as “the Three Census Areas”); and

       WHEREAS, the Court has jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 & 1343(a)(3)-(4), 52 U.S.C. § 10308(f) (redesignated from 42 U.S.C. §

1973j(f)), and the September 30, 2015 Stipulated Judgment and Order, and venue

is appropriate under 28 U.S.C. § 1391(b); and

       WHEREAS, Plaintiffs are two individual LEP Yup’ik-speaking Alaska Native

U.S. citizens of voting-age who are registered to vote or are eligible to register to

vote and reside in the DCA and KCA and four tribal councils in the DCA, KCA, and

YKCA that are the elected governments for their respective villages, which include

LEP Yup’ik- speaking or Gwich’in-speaking Alaska Native voting-age U.S. citizens

who are registered to vote or are eligible to register to vote in federal and state

elections; and

       WHEREAS, Defendants, in their official capacities, are the Lieutenant

Governor of the State of Alaska, the Director of the Division of Elections for the State

of Alaska, and the Region III and Region IV Supervisors who are responsible under

Alaska law for conducting elections in the DCA, KCA, and YKCA and are collectively

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referred to as “the Division of Elections” or “the Division”; and

       WHEREAS, the Division administers all federal, statewide, and Regional

Educational Attendance Area (REAA) elections in the DCA, KCA, and YKCA; and

       WHEREAS, this Second Stipulated Order (“Order”) is entered into by and

between Plaintiffs and Defendants, hereinafter referred to jointly as the “Parties;”

       WHEREAS, this Order takes effect upon issuance by this Court (the “Effective

Date”); and

       WHEREAS, the DCA, KCA, and YKCA have been continuously covered under

either Section 4(f)(4) of the VRA and/or Section 203 of the VRA since October 22,

1975, 40 Fed. Reg. 49,422 (Oct. 22, 1975); 28 C.F.R. § 51, App.; and

       WHEREAS, it is undisputed that Section 203 applies to the villages in these

three census areas for the Yup’ik (in the DCA and KCA) and Gwich’in (in the YKCA)

languages; and

       WHEREAS, in the most recent Section 203 coverage determinations, coverage

for Yup’ik was triggered in the DCA (see Dep’t of Commerce, Bureau of the Census,

Voting Rights Act Amendments of 2006, Determinations Under Section 203 (2011

Coverage Determinations), 76 Fed. Reg. 63,602 (Oct. 13, 2011) (to be codified at 28

C.F.R. pt. 55)), and on November 1, 2011, the United States Department of Justice

notified Defendants that Section 203 coverage of the DCA was triggered by the

villages of Aleknagik, Clarks Point, Dillingham, Ekwok, Manokotak, Koliganek, New

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Stuyahok, Togiak, and Twin Hills; and

       WHEREAS, the most recent Section 203 coverage determinations triggered

coverage for Yup’ik in the KCA (see 2011 Coverage Determinations), and on

November 1, 2011, the United States Department of Justice notified Defendants that

Section 203 coverage of the KCA was triggered by the villages of Alakanuk,

Algaaciq, Andreafsky (St. Mary’s), Chevak, Emmonak, Hooper Bay, Kotlik, Marshall,

Mountain Village, Nunam Iqua, Pilot Station, Pitkas Point, Russian Mission, and

Scammon Bay; and

       WHEREAS, the most recent Section 203 coverage determinations triggered

coverage for Alaskan Athabascan (including Gwich’in) in the YKCA (see 2011

Coverage Determinations), and on November 1, 2011, the United States

Department of Justice notified Defendants that Section 203 coverage of the YKCA

was triggered by the villages of Allakaket, Beaver, Fort Yukon, Galena, Grayling,

Holy Cross, Hughes, Huslia, Kaltag, Koyukuk, Minto, Nenana, Nulato, Ruby,

Shageluk, and Tanana all for Alaskan Athabascan, and Defendants acknowledge

and agree that Section 203 coverage applies to Arctic Village and Venetie; and

       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the DCA has 2,050 U.S. citizens of voting-age who speak Yup’ik,

approximately 18.3 percent of whom are LEP, and the illiteracy rate among those

LEP voters is about 32 percent; and

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       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the KCA has 3,195 U.S. citizens of voting-age who speak Yup’ik,

approximately 16.1 percent of whom are LEP, and the illiteracy rate among those

LEP voters is about 21.4 percent; and

       WHEREAS, according to the census data underlying the 2011 Coverage

Determinations, the YKCA has 2,665 U.S. citizens of voting-age who speak Alaskan

Athabascan, approximately 6.4 percent of whom are LEP, and the illiteracy rate

among those LEP voters is about 14.7 percent; and

       WHEREAS, the 2011 Coverage Determinations were “effective upon

publication in the Federal Register” and are not “subject to review in any court” (52

U.S.C. § 10503(b)(4) (redesignated from 42 U.S.C. § 1973aa-1a(b)(4))); and

       WHEREAS, the DCA, KCA, and YKCA have not bailed out from coverage

under Section 203 pursuant to Section 203(d) of the VRA, 52 U.S.C. § 10503(d)

(redesignated from 42 U.S.C. § 1973aa-1a(d)); and

       WHEREAS, following the Court’s decision on the law of the case [Dkt. 124],

this case proceeded through a two-week trial that concluded on July 3, 2014, and

resulted in a partial Decision on Record issued by the Court on September 3, 2014

[Dkt. 223], an Interim Order issued by the Court on September 22, 2014 [Dkt. 226],

to implement relief for the November 4, 2014 General Election, and a Stipulated

Judgment and Order issued by the Court on September 30, 2015 [Dkt. 282]; and

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       WHEREAS, the Plaintiffs filed a Motion to Extend the Stipulated Judgment

and Order on December 30, 2020, Dkt. 311; and

       WHEREAS, the Parties want to collect reliable information about the conduct

of elections in Alaska and the language assistance provided and to provide this

information to the Court; and

       WHEREAS, Defendants do not admit and specifically deny liability on all

claims and do not concede the Court’s holdings were correct, but to avoid protracted

and costly litigation, the Parties have conferred in good faith and agreed that the

Plaintiffs’ Motion should be resolved through the terms of this enforceable Order.

Accordingly, the Parties hereby freely and voluntarily consent to the entry of this

Order, after having an opportunity to confer with legal counsel, as indicated by the

signatures of the Parties and/or their respective counsel; and

       WHEREAS, Defendants enter into this Order in good faith and will take all

reasonable actions to accomplish the goals specified herein; and

       WHEREAS, in exchange for the entry of this Order, Plaintiffs agree that their

motion has been resolved; and

       WHEREAS, the Parties stipulate that each provision of this Order is appropriate

and necessary;

       It is hereby ORDERED, ADJUDGED, AND AGREED that:

       1.     The Court finds this Order is “fair, reasonable and equitable and does

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not violate the law or public policy,” Sierra Club v. Elec. Controls Design, Inc., 909

F.2d 1350, 1355 (9th Cir. 1990), including the requirements of the Voting Rights Act,

and the Court is “satisfied that the [Order] represents a ‘reasonable factual and legal

determination,’” United States v. Oregon, 913 F.2d 576, 581 (9th Cir. 1990) (internal

cite omitted), consistent with the Court’s previous decisions in this case including the

Decision on the law of the case, the partial Decision on Record, the Order re: Interim

Remedies (Interim Order), and Stipulated Judgment and Order, after a trial on the

merits of Plaintiffs’ claims. [Dkts. 124, 223, 226, 282]

       2.     The Court adopts the background and terms as set forth herein and

enters the relief as set forth herein.

       3.     Pursuant to Rule 65 of the Federal Rules of Civil Procedure, the

Defendants, the Division, its agents, employees, contractors, successors, and all

other persons acting in concert with or on behalf of the Division, are permanently

enjoined from violating the requirements of Section 203 in the DCA, KCA, and YKCA

and are ordered to implement the remedial terms identified in this Order.

       4.     The terms of this Order are final and binding and shall apply to all

federal, state, and local elections administered by Defendants, the Division, and its

agents, employees, contractors, successors, and all other persons acting in concert

with or on behalf of the Division. Whenever Defendants or the Division enter into an

election services contract with any other person, entity, political subdivision, or

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political party to conduct an election on behalf of that entity, Defendants shall require

such person or entity to agree to abide by the terms of this Order as if such person or

entity were a party to this Order, and consistent with the responsibility of each person

or entity to comply fully with Section 203 of the Voting Rights Act.

       5.       The terms of this Order shall supersede any and all conflicting and

inconsistent policies, practices, or procedures pertaining to the subject matter of this

Order that are used by Defendants, the Division, and its agents, employees,

contractors, successors, and all other persons acting in concert with or on behalf of

the Division.

       6.       No term of this Order shall be construed for or against either party

because it has been negotiated by the Parties and represents the Parties’ mutual

agreement.

       7.       This Order shall remain in effect from the Effective Date through

December 31, 2022, unless the Court modifies that term. The requirements of this

Order shall apply in the DCA, KCA, and YKCA (as to Gwich’in only in the YKCA) from

the Effective Date through December 31, 2022, without regard to any changes in

Section 203 coverage as a result of any determinations that may be made by the

Director of the Census and/or the Attorney General of the United States or the U.S.

Department of Justice during the Order’s term.

       8.       At any time after entry of this Order but before its expiration, either party

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may petition this Court for an Order to enforce the terms of this Order, request

clarifications or instructions, and/or apply for any other appropriate relief.

       9.     Pursuant to Section 3(a) of the VRA, 52 U.S.C. § 10302(a)

(redesignated from 42 U.S.C. § 1973a(a)), during the term of this Order, Election

Observers are appointed and are authorized to attend and observe elections and

election activities that federal law authorizes, including training, in the DCA, KCA,

and YKCA.

       10.    Defendants shall implement the improvements in language assistance

identified in this Order.

       11.    This Second Stipulated Order represents the entire agreement between

the Parties. Any other oral or written representations or agreements of any kind

concerning the subject matter of this Second Stipulated Order are of no force or

effect. This Second Stipulated Order supersedes the Stipulated Order and Judgment

entered September 30, 2015.

       12.    This Second Stipulated Order may be executed in counterparts, each

of which shall constitute an original, and all of which shall constitute one and the same

agreement.

       13.    The Court shall retain jurisdiction of this action through December 31,

2022 to enter further relief or such other orders as may be necessary to effectuate

the terms of this Order and to ensure compliance with Section 203 of the Voting

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Rights Act and the guarantees of the Fourteenth and Fifteenth Amendments to the

United States Constitution.

       14.    If any party, before December 31, 2022, shall commence proceedings

either to seek compliance with this Order or to seek other relief pursuant to this Order,

including but not limited to relief necessary to implement the Order, or to modify one

or more of its terms, the Court shall retain jurisdiction over this case until all issues

relating to such proceedings have been fully resolved.

II.    THE COURT’S PRIOR DECISIONS IN THIS CASE

       On July 19, 2013, Plaintiffs filed their Complaint. On June 4, 2014, before trial

of this matter, the Court issued a Decision on Record to establish the law of the case

to be applied in its consideration of Plaintiffs’ claims. [Dkt. 124] On September 3,

2014, after a two-week trial of this matter, the Court issued a partial Decision on

Record in favor of Plaintiffs on their claim under Section 203 of the Voting Rights Act.

The Court took under advisement Plaintiffs’ constitutional claim under the Fourteenth

and Fifteenth Amendments. [Dkt. 223] At the Court’s direction [Dkt. 223 at 22],

Defendants [Dkt. 224] and Plaintiffs [Dkt. 225] each provided input on the scope of

interim relief to be implemented for the November 4, 2014 General Election. On

September 22, 2014, after considering the Parties’ respective submissions, the

Court entered an Order granting interim relief for that election. [Dkt. 226]

III.   REMEDIES AGREED TO BY THE PARTIES

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       A.     Remedies originating in the Interim Order of September 22, 2014

              1.     The Official Election Pamphlet (OEP) will clearly explain that LEP

       voters may ask their outreach workers for pre-election help in translating the

       pamphlet, and it will also include the following information:

                     (a)     Language assistance is available for all information in the

                     OEP;

                     (b)     Voters are entitled to help, in their village dialect, with

              all information in the OEP;

                     (c)     A summary of pre-election language assistance available,

              including VHF radio announcements, community meetings, voter

              registration and absentee ballot assistance opportunities;

                     (d)     An explanation to voters that help is available both on and

              before Election Day; and

                     (e)     A toll-free number for voters to determine the identity of

              bilingual workers in the voter’s village and when events are scheduled.

              The identity of all bilingual workers, listed by village, shall be on a

              document that can be referenced by Division staff for any calls that they

              receive, and this information will be made available to any voter upon

              request.

              2.       The outreach worker instructions will inform outreach workers of

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       their language assistance responsibilities and the Certificate of Outreach form

       will allow outreach workers to report the number of hours spent assisting voters

       in pre-election outreach efforts and the number of voters the outreach work

       assisted. Additionally:

                     (a)       Certificates of Outreach will allow for confirmation that the

              outreach worker has made himself or herself available to translate the

              OEP, is familiar with the translated OEP, and has made themselves

              available at least one informational meeting with voters in their village or

              met with voters on a one-on-one basis;

                     (b)       The Division will provide outreach workers with a list of

              dates by which each of their assigned tasks should be completed;

                     (c)       Each outreach worker will complete and return the

              Certificate of Outreach; and

                     (d)       If the outreach worker fails to complete the Certificate of

              Outreach, the Division may confirm by telephone the tasks that the

              outreach worker has completed and the dates of completion, preparing

              their confirmation in a signed and dated writing.

              3.     The Division will prepare a cover letter to the tribal councils in the

       Three Census Areas that directly encourages each council to inform tribal

       members that it has election materials available for them to review. The

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       Division will also:

                     (a)       Disseminate all written voting materials identified in the

              Order; and

                     (b)       Explain how the voting materials are to be used and

              disseminated by the tribal council.

              4.     At least thirty days before each election, with updated dates for

       each election and in the applicable language and dialect as identified in

       Paragraph III(B), the Division will:

                     (a)     Distribute the public service announcements for local radio

              stations in the Three Census Areas at issue in this litigation to notify

              voters (1) that outreach worker(s) are available to provide language

              assistance before the election and (2) that bilingual poll workers will be

              available to assist voters on Election Day. This public service

              announcement shall also instruct voters that they can call the Yup’ik

              assistance hotline for general language assistance.

                     (b)     Distribute    a     written   version    of    a     public   service

              announcement that contains the same information described in

              paragraph (a) above, for outreach workers to broadcast over VHF in their

              communities.

                     (c)     Distribute        the   following       translated      pre-election

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              announcements to be read by outreach workers over the VHF radio that

              include the following information:

                             (i)         Absentee ballot application deadlines and the

                     availability of the outreach worker to assist in the completion of

                     absentee ballot applications;

                             (ii)        Early voting information including the dates,

                     times, and locations;

                             (iii)       The date, time, and location for the election, and

                     other requirements for voting including voter identification;

                             (iv)        The subject matter to be included on the election

                     ballot (e.g., what offices are to be filled, bond measures,

                     identification of the subject of each ballot question);

                             (v)         The availability of language assistance before

                     Election Day and on Election Day, including the name of the

                     person(s) and dates and locations when it will be provided; and

                             (vi)        The dates, times, and locations for community

                     meetings to discuss the election information and the name of the

                     person(s) to contact if voters have any questions about the

                     meetings.

                     (d)     Include in the outreach worker packets in the Three Census

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              Areas five copies of a pre-election poster advertising the availability of

              pre-election language assistance, with instructions that they post them

              in public locations such as the school, tribal council office, community

              store, etc. The posters shall state the following:

                             (i)         You can receive help voting or with any voting-

                     related activity in your Native language;

                             (ii)        The person(s) available to help you is [blank for

                     the name(s) and telephone number(s) to be filled in by the

                     outreach worker];

                             (iii)       Help will be provided in your Native language

                     before the election on [blank for the time and date to be filled in by

                     the outreach worker] at [blank for the location to be filled in by the

                     outreach worker];

                             (iv)        Help will be provided in your Native language

                     during early voting, Contact [blank for the name(s) and telephone

                     number(s) to be filled in by the outreach worker] for more

                     information; and

                             (v)         Help will be provided to you at the polling place

                     in your Native language during the election, and will be held at

                     [blank for the location to be filled in by the outreach worker] from

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                     7:00 a.m. to 8:00 p.m.

              5.     When the Division sends Election Day supplies to poll workers

       approximately three weeks before each election, it will include:

                     (a)             Buttons for poll workers saying “Can I help?” translated

              into Yup’ik or Gwich’in, as applicable, and Election Day posters

              translated into Yup’ik and Gwich’in announcing the availability of

              language assistance.

                     (b)             Election Day posters that state the following, in English

              and also translated into the applicable language:

                             (i)           You can receive help voting or with any voting-

                     related activity in your Native language;

                             (ii)          The person(s) available to help you are [blank for

                     the names to be filled in by the outreach worker]; and

                             (iii)         You also have the right to receive help voting from

                     any person of your choice.

                     (c)     For each poll worker, at least two copies of the Election Day

              poster described above, with instructions that the poll workers are to post

              them in conspicuous places inside the polling place where they can be

              seen by voters before they vote.

              6.     At least three weeks before the election, the Division will post on

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       its website the written Central Yup’ik translations of election materials that the

       Division already routinely posts as individual audio files on the website, as well

       as written Yup’ik translations of those same election materials that are (1) in a

       Yup’ik dialect that is understandable in the DCA; and (2) in a Yup’ik dialect that

       is understandable in the KCA. The Division will also include the Gwich’in audio

       and materials as well as Yup’ik audio and materials that have been prepared

       by the Division.

              7.     Before each primary, general, or special election for which the

       Division disseminates an OEP, the Division will:

                     (a)     Send to each of the outreach workers in the Three Census

              Areas (in addition to the audio translations of ballot measure neutral

              summaries, pro/con statements, and candidate statements) written

              translations of the following so as to assist the outreach workers in

              providing oral translations to LEP voters:

                             (i)     Sample ballots including ballot questions;

                             (ii)    Neutral summaries of each ballot question prepared

                     by the State;

                             (iii)   Statements of cost associated with ballot questions;

                             (iv)    Summary of bond measures;

                             (v)     Pro and con statements for ballot questions and

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                     bond measures;

                             (vi)    Candidate statements (federal and state offices and

                     judicial candidates);

                             (vii)   A copy of the Official Election Pamphlet; and

                             (viii) A cover letter and updated instruction packet to the

                     outreach workers that emphasizes to each outreach worker that

                     she/he is expected to be available to assist voters to understand

                     all voting information and that encourages workers to call the

                     Division with any questions about performing these tasks.

                     (b)     Translate the entire OEP into written Gwich’in and Yup’ik

              (with the dialectical differences identified in Paragraph III(B)(1) noted)

              and distributed at least twenty-two days before any election for which

              the Division disseminates an OEP, except that candidate statements

              (federal and state offices and judicial candidates) and Judicial Council

              recommendations will be translated only if they are received by the

              Division at least thirty days before the applicable statutory deadline. The

              Division shall include an instruction to candidates and to the Judicial

              Council that: (1) encourages candidate statements and Judicial Council

              recommendations be provided to the Division according to this schedule

              for candidates running for offices that are on the ballot in the DCA, KCA,

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              and YKCA; and (2) states that the statements or recommendations

              must be filed with the Division at least thirty days before the applicable

              statutory deadline if they wish             to   have   their   statement   or

              recommendation translated.

              8.     Working with partners and tribal councils, the Division will make

       every effort to provide at least one trained bilingual outreach worker and one

       bilingual poll worker required for each village and to also provide:

                     (a)     Defendants shall verify the language abilities of each

              bilingual outreach worker or poll worker to confirm they are fluent and

              literate in English and the covered language/dialect, both oral and

              written, but it shall be sufficient verification for Defendants, without

              limitation, to obtain written confirmation from the tribal council that the

              outreach worker or poll worker has these qualifications;

                     (b)     Defendants will endeavor to use workers recommended by

              the tribal council. If no worker is identified by the tribal council, then

              Defendants will identify and recruit a worker who is bilingual and literate

              in English and the covered language/dialect, both oral and written;

                     (c)     To the extent it has not already determined the language

              abilities of a bilingual worker, the Division will confirm the worker’s

              language abilities by: (1) having a qualified person who speaks the

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              language/dialect converse with the worker in the language/dialect; and

              (2) ask the worker to read out loud voting materials translated into the

              language/dialect;

                     (d)     Each worker shall agree in writing their willingness to serve

              as a bilingual worker and indicate that they feel comfortable providing

              the translations and language assistance. If the worker fails to agree in

              writing, the Division may confirm by telephone the worker has agreed

              to serve as a bilingual worker, preparing their confirmation in a signed

              and dated writing;

                     (e)     The tribal councils may recommend to the Division that a

              bilingual poll worker be replaced;

                     (f)     The Division and the tribal council shall collaborate in

              determining whether the person recommended by the tribal council will

              be used as a bilingual worker; and

                     (g)     Subparagraph (a) above does not absolve the Division of

              any obligations it has under Section 203 of the VRA.

       B.     Dialects

              1.     Yup’ik in the DCA and KCA. The Yup’ik Translation Panel (YTP)

       shall accommodate the following dialects of Yup’ik in its translation of all voting

       materials and election information in the DCA and KCA: Bristol Bay Yup’ik

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       (BB); Central Yup’ik (GCY); Hooper Bay/Chevak Yup’ik (HBC); Norton Sound

       Yup’ik (NS); Yukon Yup’ik (Y); Nunivak Cupig.

              2.     Gwich’in in the YKCA. The Gwich’in Translation Panel (GTP) shall

       use Gwich’in in its translations of all voting materials and election information.

       C.     Glossaries of Election Terms

              1.     The Yup’ik glossary shall be updated to include common election

       terms that appear on forms and instructions or on ballots that do not presently

       appear in the glossary. The YTP shall review updates to the glossary and

       identify any additional words to be added to the glossary. The Division shall

       complete additional updates to follow as the YTP determines appropriate.

              2.     A glossary shall be prepared by the GTP in Gwich’in using the

       same set of common election terms in the updated Yup’ik glossary.

       D.     Toll-Free Number for Language Assistance

              1.     Defendants’ voting materials shall reflect that language

       assistance is available in the covered languages and dialects as identified in

       Paragraph III(B).

              2.     Defendants will have available at least one bilingual translator for

       each language and dialect spoken in the DCA, KCA, and YKCA as identified

       in Paragraph III(B) to provide language assistance by phone.

              3.     Defendants shall promptly arrange a call between the voter and

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       an appropriate translator, depending upon the language and dialect of the

       voter who is calling.

              4.     The Division shall document the translator’s name, their language

       and dialect, date and duration of the call with the voter calling the toll-free

       number.

       E.     Translation Panels

              1.     The YTP shall have at least eight members that shall represent a

       knowledge, collectively, of all Yup’ik dialects identified in Paragraph III(B)(1).

              2.     A GTP shall be created with at least three bilingual speakers who

       are proficient in performing oral and written translations into Gwich’in.

              3.     The Division will pay each member of the two Translation Panels

              $50-$75 an hour.

       F.     Procedures for Translations

              1.     All translations identified above shall:

                     (a)       For Yup’ik, include adjustments for any differences in the

              dialects identified in Paragraph III(B)(1). If minor, they can be done

              through footnotes. If more numerous or substantial adjustments are

              necessary for a particular dialect, they can be done through a separate

              document for that dialect which identifies the dialect. The YTP shall

              determine whether the dialectical differences are sufficient to warrant

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              using a separate document instead of footnotes; and

                     (b)       Be in writing, to facilitate complete, accurate, and uniform

              oral translations.

              2.     Translations of the official ballot, sample ballot, and glossary shall

       be completed by a quorum (majority) of the members of each of the two

       translation panels described in Paragraph III(E) of this Order. For example, if

       the YTP has eight members, at least five members may be used to complete

       the translations as long as those members can identify and adjust for the

       dialectical differences identified in Paragraph III(B)(1). If the GTP has three

       members, at least two members may be used to complete the translations.

              3.     Translations of the pro/con statements, neutral summaries, and

       summary of statement of costs may be completed by one translator and shall

       be verified by at least one additional translator, as long as the Yup’ik

       translators can identify and adjust for the dialectical differences identified in

       Paragraph III(B)(1).

              4.     Translations of other voting materials and election information

       shall be completed by translation panel members to the maximum extent

       feasible, provided that all Yup’ik translations are adjusted for the dialectical

       differences identified in Paragraph III(B)(1). Whenever feasible, each

       translation shall be verified by at least one other translator.

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              5.     The Division shall make all reasonable efforts to recruit bilingual

       recorders to provide audio of the translations identified above and an audio

       translation of the glossaries. The Division will pay a bilingual recorder $50-$75

       an hour, will have the bilingual recorder sign an agreement of their willingness

       to work, and will give the bilingual recorder a deadline for each recording. If a

       bilingual recorder misses the first deadline by more than five days, the Division

       will endeavor to replace the bilingual recorder and will have the replacement

       bilingual recorder sign an agreement of their willingness to work.

       G.     Bilingual Outreach Workers and Poll Workers, and Language
              Assistance Compliance Manager

              1.     The Division shall retain a full-time employee responsible for

       administrating and coordinating all activities necessary for the Division to

       comply with Section 203 of the VRA (“Language Assistance Compliance

       Manager”).

              2.     The Division shall provide Yup’ik language assistance in all

       villages in the DCA and KCA. The Division shall provide Gwich’in language

       assistance in the following villages in the YKCA: Arctic Village, Beaver, Birch

       Creek, Chalkyitsik, Circle, Fort Yukon, and Venetie.

              3.     In each village, the Division shall require outreach workers

       provide outreach sufficient to complete, before each election, the Mandatory

       Pre-Election Outreach detailed below, I. Thirty hours for each election is the
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       maximum number of hours authorized to be paid to an outreach worker unless

       the outreach worker first obtains the Division’s approval.

              4.     In the Division’s initial communication with the tribal councils about

       upcoming election information, the Division shall include a statement that the

       tribal council may recommend a bilingual outreach worker or poll worker, and

       may request at any time that a bilingual outreach worker or poll worker be

       replaced.

              5.     The Division will consult with the tribal councils in the DCA, KCA,

       and YKCA and ask that the tribal councils provide the Division with a list of

       names and contact information of persons who have been identified by the

       tribal councils as being bilingual and literate in English and the covered

       language/dialect.

              6.     The Division shall secure the written agreement of replacement

       bilingual workers. If the replacement bilingual worker fails to agree in writing,

       the Division may confirm by telephone the worker has agreed to serve as a

       bilingual worker, preparing their confirmation in a signed and dated writing.

              7.     If the Division learns that a person scheduled to work as a

       bilingual outreach worker has not performed or cannot perform their assigned

       tasks, where feasible the Division shall recruit and train a replacement

       bilingual outreach worker.

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       H.     Mandatory Training

              1.     The Division will make all poll workers aware of language

       assistance requirements in its regular training sessions.

              2.     Mandatory in-person training. All bilingual election workers are

       required to receive the training identified in this Order. If a bilingual outreach

       worker or bilingual poll worker fails to attend in-person training, wherever

       feasible the Division must reschedule training for that worker or replace that

       worker who will be scheduled to attend the next in-person training.

              3.     Frequency. In-person training shall be done every even-

       numbered year and for elections in odd-numbered years in which a special

       ballot measure appears, at the time identified in this Order. During odd-

       numbered years in which there is no special ballot measure, telephonic training

       shall be conducted. If in-person training is not possible, the Division will

       conduct synchronous virtual training by video or phone, which will constitute

       in-person training for the purposes of this Order. The Division will provide all

       training materials to attendees in hard copy. Whenever possible, the Division

       will provide training materials to attendees ahead of any distance training.

              4.     Duration of Bilingual Outreach Worker and Bilingual Poll Worker

       Training. Training for bilingual election workers must be for a reasonable

       amount of time sufficient to cover the topics in paragraph 5 below. The Division

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       shall make travel arrangements for those election workers who must travel to

       the training location that are sufficient to ensure that all bilingual election

       workers attend all of the mandatory in-person training. The Division shall pay

       for all associated costs of travel, lodging, and per diem.

              5.     Content of language training. Language assistance training shall

       be in addition to any training provided for election procedures and Alaska

       elections law; the training will focus exclusively on language assistance and

       practicing available translations. The Division may schedule this language

       training to be on a day consecutive to its more general training provided to all

       poll workers. The language training shall adequately cover the following

       topics:

                     (a)     Summary of language assistance required under the VRA;

                     (b)     Procedures for identifying and assisting voters who may

              need language assistance;

                     (c)     Advising all voters of the availability of translation

              assistance;

                     (d)     Instructions for providing assistance on voter registration;

                     (e)     Instructions    for providing assistance in completion of

              absentee ballot applications or their equivalent (e.g., vote by fax, etc.);

                     (f)     Special instructions for workers covering Permanent

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              Absentee Voting (PAV) locations;

                     (g)     Instructions on early voting procedures and schedule;

                     (h)     Instructions for casting a ballot on a voting machine,

              including how to use the audio translation feature;

                     (i)     Instructions on assisting voters who need to cast a

              challenged ballot;

                     (j)     Translations on the content of the OEP available at the

              time of training, which shall be provided to workers in writing in the

              applicable language and dialect as identified in Paragraph III(B);

                     (k)     How to use written translations to provide complete,

              accurate, and uniform translations in the covered language and dialect;

                     (l)     Instructions on how to translate procedural voting materials

              (forms and instructions);

                     (m)     Instructions on conducting informational meetings before

              the election to discuss the ballot and registration and voting

              procedures;

                     (n)     Practice performing available translations;

                     (o)     Translation of the entire ballot into the language/dialect;

                     (p)     Practicing the translation of the ballot with each translator;

              and

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                     (q)     A checklist summarizing all of the workers’ assigned duties

              under the Order and the expected dates of completion for pre-election

              and post- election activities.

              6.     Training materials. Training materials provided to bilingual

       outreach workers and poll workers shall facilitate training on all of the topics

       listed above. Bilingual workers shall be provided with copies of all written

       translations available at the time of the training to use for practice during the

       training, a training handbook, a checklist of their assigned duties and expected

       completion dates, Election Day materials, and any other materials covering

       the training topics. Written translations not available at the time of this training

       shall be provided by mail to the bilingual worker when they become available.

              7.     Additional in-person training for bilingual poll workers for the

       General Election. After all remaining materials for the General Election become

       available, but before the General Election, the Division will conduct three in-

       person training sessions, one each for the DCA, KCA, and YKCA, for the

       bilingual poll workers in those areas. The training shall cover any voting

       materials, ballot, ballot measures, pro/con statements, neutral summaries,

       bond questions, statements of costs, candidate statements, etc. not available

       during the earlier training session. Emphasis will be placed on practicing

       translations of ballot measures, ballots, and other information not provided in

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       the initial training.

              8.     Phone or A s y nc hr on ous v i de o training only to be provided

       in emergencies. Phone or asynchronous video training shall only be provided

       in exceptional cases, including if travel is not possible for any of the mandatory

       in-person training sessions due to inclement weather or if a bilingual outreach

       worker or bilingual poll worker is unable to perform their duties and there is

       insufficient time to provide in-person training to a replacement worker. Phone

       or asynchronous video training must be done at least one (1) day before the

       election and can be by conference call. The training must be at least two (2)

       hours in duration and cover the topics from the regular training.

              9.     Documentation of training. Defendants shall maintain records of

       the following through the term of this Order:

                     (a)       The training agenda, to include all of the topics listed above;

                     (b)       Training materials disseminated to bilingual workers;

                     (c)       Audiovisual   and    other      materials   used   during   the

              presentation;

                     (d)       Written role-playing scenarios covered during the training;

                     (e)       Attendance list with the bilingual worker’s printed name

              and village and their signature and sign-in and sign-out times. If one or

              more bilingual workers did not attend the complete training, then the

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              Division must identify that act; and

                     (f)     Documentation of travel provided for training, to include

              Division employees and workers who attended.

              10.    Notice of Training. Defendants shall endeavor to provide notice of

       all trainings to bilingual election workers, to include the call-in information for

       distance training, at least fifteen days prior to training. If fifteen days’ notice is

       not possible, notice shall be given as soon as practicable.

       I.     Mandatory Pre-election Outreach

              1.     Mandatory informational meetings. Pre-election outreach must

       include informational meetings. Performance of this requirement by outreach

       workers may be through one or more community-wide informational

       meeting(s), small group meeting(s), or one-on-one meetings. The informational

       meetings shall be to register voters and to cover the following election topics

       before the election:

                     (a)     Announce       all upcoming election deadlines (including

              registration, absentee ballots, etc.);

                     (b)     Announce all upcoming election dates and a summary of

              what will appear on the ballot to include:

                             (i)    Federal, state, or local offices;

                             (ii)   Ballot questions: and

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                              (iii)   Bond questions;

                        (c)   Provide an opportunity to register to vote and provide

              language assistance for filling out registration forms;

                        (d)   Explain the absentee ballot application and voting process

              when the applications or ballots are being disseminated or accepted by

              the State;

                        (e)   Explain the early voting process including dates and

              locations;

                        (f)   Explain voter identification requirements to include the

              acceptable forms of identification;

                        (g)   Review in the covered language and dialect all of the

              information in the OEP;

                        (h)   Review in the covered language and dialect the sample

              ballot;

                        (i)   Describe the availability of language assistance before

              Election Day and on Election Day, including the name of the person(s)

              and dates and locations where it will be provided;

                        (j)   For other informational meetings, if any, identify the dates,

              times, and locations for other meetings to discuss the election

              information and the name of the person(s) to contact if the voters have

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              any questions about the meetings;

                     (k)     Provide the name and toll-free number of the person

              available for assistance in their language/dialect; and

                     (l)     Have a question and answer session in the language and

              dialect regarding the election or voting process.

              2.     Mandatory follow-up. At least twenty-five days before an election,

       the Division shall follow up with the outreach workers to confirm that they have

       received the outreach materials and that they agree that they will perform the

       outreach in a timely manner.

       J.     Pre-election and Election Day Publicity

              1.     The Division shall provide publicity that includes all of the

       announcements described in the Interim Order [Dkt. 226].

              2.     In addition to the publicity specified in the Interim Order [Dkt. 226],

       the following terms will be implemented:

                     (a)     Radio broadcasts. The Division shall request that the

              following radio stations broadcast PSAs, using the language and dialect

              identified in parentheses:

                             (i)     KDLG – Dillingham (Bristol Bay Yup’ik);

                             (ii)    KYUK – Bethel (Central Yup’ik);

                             (iii)   KICY – Nome (Yukon Yup’ik);

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                             (iv)    KCUK – Chevak (Hooper Bay/Chevak); and

                             (v)     KZPA – Fort Yukon (Gwich’in).

                      (b)    Frequency. The Division shall request that beginning at

              least five days before each election and each deadline (e.g., absentee

              voting, voter registration, list maintenance), the radio station make at

              least three announcements a day on weekdays for three days in the

              language and dialect identified above in Paragraph III(J)(2)(a).

                      (c)      Content (in the language and dialect identified above in

                      Paragraph III(J)(2)(a)). The following topics shall be included in the

              PSAs:

                             (i)     Date and time of the next election;

                             (ii)    Opportunities to register to vote and the deadline

                      for registering before the next election;

                             (iii)   Availability of absentee voting and the deadline

                      for submitting an application;

                             (iv)    Early voting dates and the Division’s telephone

                      number to find the voter’s early voting location;

                             (v)     General description of the subject matter of the ballot

                      including if there are federal/state/local offices, bond questions,

                      ballot propositions, etc.;

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                             (vi)    Availability of language assistance before Election

                     Day and on Election Day; and

                             (vii)   Toll-free number for language assistance or to find

                     out the name of the bilingual outreach worker in the voter’s

                     village.

                     (d)     List maintenance announcements. The following topics

              shall be included:

                             (i)     A summary of what list maintenance is and why it

                     is important;

                             (ii)    Steps to take to ensure the voter remains on the

                     active voter list; and

                             (iii)   Toll-free number for language assistance for any

                     questions.

                     (e)     Documentation. The Division shall keep documentation of

              its correspondence with the radio stations, including if it is provided

              information by the radio station that identifies the dates, times, and

              content of the ads aired.

       K.     Language Assistance for List Maintenance to be provided to Tribal
              Councils.

              1.     Within two weeks of when the Division sends list maintenance

       inactivation notices to voters it shall provide to tribal councils a written
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       translation in the applicable language and dialect identified in Paragraph III(B)

       of the list maintenance radio ad.

       L.     Touch-screen Voting Machines

              1.     Touch-screen voting machines shall be available at all polling

       places on Election Day when there are federal races on the ballot. If more than

       one language and dialect for a village is identified pursuant to the procedure

       in Paragraph III(B), then the audio translation on the touch-screen voting

       machine shall be provided in one language and dialect identified by the YTP

       in consultation with the appropriate tribal council. Audio translations shall be

       included in the applicable language and dialect identified pursuant to

       Paragraph III(B) for all audio information and instructions provided on the

       machine in English. All poll workers shall be trained on how to use the audio

       language assistance available on the machines.

              2.     If placing audio translations on the touch-screen voting machines

       is not technologically feasible, the Division will provide the voter with access

       to the audio translation in another format and will make available to the voter

       the translated sample ballot.

       M.     Sample Ballots and their Use

              1.     The Division shall continue to post on its webpage and to provide

       written bilingual sample ballots to tribal councils, outreach workers, and poll

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       workers. The tribal councils or outreach workers may provide copies of the

       written bilingual sample ballots to voters before the election. Voters are free

       to bring in their marked-up sample ballot to assist them in casting a ballot on

       Election Day.

              2.       Written bilingual sample ballots shall be available to voters at

       the Division’s four Regional Offices and at the Division’s Mat-Su office.

       N.     Voter Registration

              1.       Voter registration forms. The Division shall ensure that each

       tribal council has an adequate supply of voter registration forms and

       instructions.

              2.       Sign. A sign shall be posted in the applicable language and

       dialect identified in Paragraph III(B) in the village identifying the availability of

       voter registration forms, language assistance to register, and the name and

       phone number of the bilingual registrar, if any. If there is no bilingual registrar,

       the sign shall provide the Division’s toll- free number for language assistance.

       O.     Permanent Absentee Voting (PAV)

              1.       PAV sites in the Three Census Areas must have resident

       bilingual workers who are required to be available during the entire time that

       absentee voting is occurring, with a notice posted in public places in the

       applicable language and dialect identified in part III(B) advertising the name,

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       phone number, location of the bilingual worker and that language assistance

       is available. The bilingual worker must be trained in-person and be fully

       bilingual and literate in English and the language/dialect spoken in the village.

              2.     No village in the Three Census Areas that is not currently a PAV

       site shall be designated as a PAV site without providing the Plaintiffs with at

       least sixty days’ notice of Defendants’ intention to designate the village as a

       PAV site.

       P.     Voters Provided Questioned Ballots

              1.     The Division shall provide instructions to all voters who vote a

       questioned ballot on the questioned ballot process in the applicable language

       and dialect identified in Paragraph III(B). Information and notices about the

       questioned ballot process may be provided by the bilingual poll worker orally,

       to include information on how the voter determines whether their vote was

       counted via a toll-free number. Language assistance as described in

       Paragraph III(D) shall be provided to voters calling the toll-free number.

       Q.     Record-Keeping

              1.     Defendants must maintain all records pertaining to their language

       assistance program, consistent with 28 C.F.R. § 55.21. Complete records must

       be maintained for the term of this Stipulation and Order to identify the

       Division’s efforts under it.

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       R.     Reporting Requirements

              1.     Thirty days before each election, the Division shall inform Plaintiffs

       if they do not believe they will be in compliance with any requirement under this

       Order.

              2.     Defendants will submit reports and records to the Court. The

       report will assess the Division’s compliance with each requirement of this

       Order and will include supporting records as required by A(2), A(8)(d), D(4),

       G(6), H(9) and J(2)(e). The report will also include documentation of the

       Division’s efforts to secure bilingual outreach and poll workers in any villages

       where it is unsuccessful. Additional records kept pursuant to this Order will be

       provided to the Court or Plaintiffs upon request. The reports shall be provided

       on the following schedule:

                     (a)     in odd-numbered years, 60 days after the REAA Election;

              and

                     (b)     in even-numbered years, 60 days after the General

              Election for the Primary, REAA, and the General Elections.

              3.     Plaintiffs will have an opportunity to file a response within 60 days

       after Defendants file their report.

IV.    ENFORCEMENT

       A.     The Court may enforce the terms of this Order through contempt

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proceedings. See United States v. Sandoval County, 797 F. Supp. 2d 1249, 1254

(D.N.M. 2011).

       B.     If Defendants or the Division do not have the intent or means to comply

with the terms of this Order, Plaintiffs shall have the right to seek such relief as may

be necessary to enforce the terms of this Order. Before seeking such relief from the

Court, Plaintiffs shall notify Defendants, in writing, of Plaintiffs’ understanding or belief

that Defendants lack the intent or means to comply with this Order. Such notice shall

specify any grounds for such understanding or belief.

       C.     If the Defendants are otherwise in compliance with the terms of this

Order, a de minimis violation will not alter that substantial compliance. Factors that

are relevant to whether non-compliance with a provision in the Order is de minimis

include:

              1.     Previous non-compliance for the polling location and/or village;

              2.     The nature of the non-compliance: whether the non-compliance

       was minor (such as failing to have a translator available for a portion of the day

       that the polls were open or having a translator who failed to attend training) or

       more substantial (such as not having a translator available for the entire day);

              3.     The circumstances of the noncompliance: whether the non-

       compliance was the result of unforeseeable circumstances (such as a

       translator not showing up because of a death in the family or poll workers

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       unable to attend in-person training because of inclement weather);

               4.    Efforts undertaken by Defendants in advance to plan for possible

       contingencies, such as the one resulting in non-compliance;

               5.    If pre-election outreach was not provided or was limited (such as

       not including information in the OEP), efforts undertaken by Defendants to

       provide that in-person outreach through other means, including on Election

       Day; and

               6.    Translations or assistance the Defendants provided through

       alternative means (such as through other bilingual speakers or through written

       translations provided to voters who could read and understand them).

V.     AMENDMENTS TO THE ORDER

       A.      Modification. The Court may, either on request of a party or acting sua

sponte, modify one or more of the provisions of this Order if the Court finds that such

modification is necessary to achieve the purposes of the Order or in the interests of

justice.

               1.    Sua Sponte. Before modifying a term sua sponte, the Court will

       give the Parties notice and an opportunity to be heard on the issue. The Court

       will make specific findings on the record to support any decision to modify a

       term.

               2.    Upon request of a Party. Pursuant to the “flexible approach” to

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       be applied to motions to modify a final judgment pursuant to Fed. R. Civ. P.

       60(b)(5), the Court will consider two factors in determining whether a

       requested modification is warranted. First, the party seeking modification must

       establish “a significant change either in factual conditions or in law” that would

       “make compliance with the decree substantially more onerous” or “unworkable

       because of unforeseen obstacles” or that “enforcement of the decree without

       modification would be detrimental to the public interest.” Rufo v. Inmates of

       Suffolk County Jail, 502 U.S. 367, 384 (1992). Second, the Court will “consider

       whether the proposed modification is suitably tailored to the changed

       circumstance.” Id. at 383. The party seeking such a modification must

       establish a “significant” change in circumstance, and not merely that “it is no

       longer convenient” to use the existing term for which modification is sought. Id.

       Any proposed modification is limited to resolution of “the problems created by

       the change in circumstances. A court should do no more, for a[n order such

       as this Order] is a final judgment that may be reopened only to the extent that

       equity requires.” Id. at 391.

       B.     Extension of the term of the Order. This Order shall terminate on

December 31, 2022.

VI.    ATTORNEYS’ FEES AND COSTS UNDER THE ORDER

       A.     The parties are each responsible for their own costs and fees incurred

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after the Court’s issuance of the Stipulated Judgment and Order.

                                       CONCLUSION

       IT IS ORDERED that the parties’ Joint Motion at Docket 331 is GRANTED

and Plaintiffs’ Motion to Extend Stipulated Judgment and Order at Docket 311 is

DENIED as moot.

       The Court finds that the parties’ proposed Second Stipulated Order is fair,

reasonable and equitable and does not violate public policy. See Turtle Island

Restoration Network v. U.S. Dep’t of Commerce, 672 F.3d 1160, 1165 (9th Cir. 2012)

(quoting Sierra Club, Inc. v. Elec. Controls Design, Inc., 909 F.2d 1350, 1355 (9th

Cir. 1990)). Therefore, this Second Stipulated Order is entered on this date.



         DATED this 20th day of September, 2021 at Anchorage, Alaska.



                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




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